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                                                     [Docket Nos. 105,
                                                  109, 111, 113, 115,
                                                        117, 136, 138]
                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


   THOMAS GORCZYNSKI,
   individually and on behalf of
   others similarly situated,
                                           Civil No. 18-10661 (RMB/KMW)
                    Plaintiff,

         v.                                ORDER

   ELECTROLUX HOME PRODUCTS,
   INC., et al.,

                    Defendants.



       This matter comes before the Court on the parties’ Daubert

  Motions [Docket Nos. 109, 111, 113, 115, 117, 136, 138] and

  Plaintiff’s Motion to Certify [Docket No. 105]. In the interest

  of expeditiously resolving those pending Motions,

       IT IS on this     20th   day of   November   2020, hereby:

       ORDERED that a virtual hearing will occur on Thursday,

  December 3, 2020, at 10:00 a.m. The parties shall come prepared

  with dates on which Dr. Bak and Dr. Kytomaa are available for

  Daubert hearings. The parties shall further come prepared to

  discuss the definition of the “Handle Defect,” issues of

  predominance and commonality, and any other issues that may

  arise. A Zoom link will be sent to Counsels’ email addresses as

  they appear on the docket. It is further
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       ORDERED that, pending the upcoming hearing, Plaintiff’s

  Motion to Certify [Docket No. 105] is ADMINISTRATIVELY

  TERMINATED; and it is further

       ORDERED that, pending the Daubert hearings involving Dr.

  Bak and Dr. Kytomaa, the Daubert Motions relating to those

  experts [Docket Nos. 109, 138] are ADMINISTRATIVELY TERMINATED;

  and it is finally

       ORDERED that, given the fact that resolution of the Daubert

  Motions relating to Dr. Bak and Dr. Kytomaa may affect the

  resolution of the remaining Daubert Motions, which themselves

  may require additional Daubert hearings, those remaining Daubert

  Motions [Docket Nos. 111, 113, 115, 117, 136] are also

  ADMINISTRATIVELY TERMINATED.



                             RENÉE MARIE BUMB
                             United States District Judge




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